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                                                                 March 12, 2018

        Via ECF

        The Honorable P. Kevin Castel
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, NY, 10007-1312

                       Re:     United States v. Bergstein, 16 cr. 746 (PKC)

        Dear Judge Castel:

                Defendant David Bergstein writes, with the consent of the Government, to request that
        the time period for the defendant to file any posttrial motions for a new trial or for a judgment of
        acquittal pursuant to Rules 29 and 33 of the Federal Rules of Criminal Procedure be extended to
        March 29, 2018.

               Assistant U.S. Attorney Edward Imperatore advised the defense by e-mail that the
        Government did not object to this request, provided that the Government received a
        corresponding extension for its response. The defense agrees that the Government may have four
        weeks from the filing of posttrial motions to file a response.

                                                                 Respectfully submitted,

                                                                 SATTERLEE STEPHENS LLP

                                                                 /s/ Andrew L. Fish
                                                                 Andrew L. Fish

                                                                 BIENERT, MILLER & KATZMAN, PLC

                                                                 /s/ Thomas H. Bienert, Jr.
                                                                 Thomas H. Bienert, Jr.
        cc: All counsel (via ecf)
